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THE UNITED STATES DISTRICT COURT |
FOR THE DISTRICT OF NEW JERSEY

ROTHSCHILD BROADCAST

DISTRIBUTION SYSTEMS, LLC,

Plaintiff, Case No.: 3:22-cv-02946-GC-RLS

y. PATENT CASE

Ry j a
MIKU, INC., JURY TRIAL DEMANDED

Defendant.

JOINT STIPULATION OF DISMISSAL

Plaintiff Rothschild Broadcast Distribution Systems, LLC, and Defendant Miku, Inc., by
their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

1. All claims asserted by the Plaintiff in this Action are dismissed with prejudice and
all counter-claiims asserted by the Defendant in this Action are dismissed without prejudice under
Fed, R. Civ. P. 41(a)(1)(A)Gi);

2. Each party shall bear its own costs and attorneys’ fees with respect to the matters
dismissed hereby;

This Stipulation and Order shall finally resoive the Action between the parties.

aS
it Is so ordered this Id day
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 Sgoraetie Castner, U.S.D.J.

JOINT STIPULATION OF DISMISSAL Page} 3
